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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                        CRIMINAL MINUTES – GENERAL

Case No.        2:89-cr-00190-SVW-17                                                            Date: November 12, 2020

Present: The Honorable:           Stephen V. Wilson, U.S. District Judge
Interpreter     NA

                   T. Jackson                                     N/A                                         N/A
                   Deputy Clerk                        Court Reporter / Recorder                     Assistant U.S. Attorney

  U.S.A. v. Defendant(s)             Present Cust    Bond                Attorneys for Defendants:                Present App   Ret
  Juan Carlos Seresi                         X                           Reuven L. Cohen                                   X

Proceedings: IN CHAMBERS ORDER GRANTING DEFENDANT’S MOTION FOR COMPASSIONATE
             RELEASE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

       Before the Court is a motion for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) filed by
Defendant Juan Carlos Seresi (“Defendant”). The United States of America (“the Government”) does not
oppose the motion.

        Defendant claim for relief under 18 U.S.C. § 3582(c)(1)(A)(ii) fails. That statute allows this Court to
modify a defendant’s term of imprisonment if (1) he is 70 years old, (2) he has served at least 30 years of his
sentence, and (3) the Bureau of Prisons (“BOP”) has determined that he is not a danger to the community.
Here, the third prong has not been satisfied because the BOP has not found that Defendant is not a danger to the
community. See Dkt. 1407, Cohen Decl., Ex. 2. Indeed, the BOP made no finding whatsoever regarding the
danger Defendant poses to his community. Id. Accordingly, Defendant is ineligible for relief under 18 U.S.C.
§ 3582(c)(1)(A)(ii).

        Defendant’s alternative argument also fails. Specifically, Defendant argues that his advanced age and
high blood pressure—and his corresponding vulnerability to serious complications from COVID-19—constitute
“extraordinary and compelling” reasons justifying release under 18 U.S.C. § 3582(c)(1)(A)(i). See Dkt. 1407 at
8. The Government agrees with Defendant and notes specifically that Defendant’s high body mass index
warrants compassionate release. Dkt. 1410 at 2 n. 2. However, the “mere existence of COVID-19 in society
and the possibility that it may spread to a particular prison cannot independently justify compassionate release.”
United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (rejecting compassionate release request from defendant
suffering from diabetes and heart issues).

        Nevertheless, the Court finds that other “extraordinary and compelling reasons” justify Defendant’s
release. Under 18 U.S.C. § 3582(c)(1)(A), Courts are directed to follow the Sentencing Commission’s criteria
regarding “extraordinary and compelling reasons.” Although the criteria promulgated by the Sentencing
Commission primarily relate to a defendant’s age, health, and family circumstances, see U.S.S.G. § 1B1.13 cmt.
1(A)–(C), there is also a catch-all provision for “extraordinary and compelling reason[s] other than, or in
combination with,” the defendant’s age and health, see id. at cmt. 1(D). By its plain language, any reasons
justifying release under the catch-all provision must be “determined by the Director of the [BOP].” Id.


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         However, as other courts have noted, the Sentencing Commission never harmonized its criteria with the
First Step Act (“FSA”), i.e., the revised version of 18 U.S.C. 3582(c)(1)(A) signed into law in 2018. See United
States v. Rodriguez, 424 F. Supp. 3d 674, 681 (N.D. Cal. 2019). Indeed, the Sentencing Commission’s policy
statement still asserts that a defendant can only be released for extraordinary and compelling reasons “upon
motion by the Director of the [BOP],” see U.S.S.G. § 1B1.13 cmt. 4, even though 18 U.S.C. 3582(c)(1)(A)
expressly allows defendants to be released upon their own motion. As the court noted in Rodriguez, “Congress
knew that the BOP rarely granted compassionate release petitions, and the purpose of the [FSA] was to allow
defendants to [seek release] even after the BOP [] denies their petition. . . . The only way direct motions to
district courts would increase the use of compassionate release is to allow district judges to consider the vast
variety of circumstances that may constitute ‘extraordinary and compelling.’” 424 F. Supp. 3d at 682 (internal
citations and quotations omitted). Accordingly, the Court joins the Rodriguez Court and others in finding that
“courts can determine whether any extraordinary or compelling reasons other than those delineated in [U.S.S.G.
§ 1B1.13] warrant compassionate release.” See id. at 681–82 (collecting cases).

        Here, a number of factors lead this Court to conclude that extraordinary and compelling reasons warrant
Defendant’s release under 18 U.S.C. § 3582(c)(1)(A)(i). Defendant has served over 30 years for a non-violent
offense. See Dkt. 1407, Cohen Decl. During his term of incarceration, Defendant has earned three associate’s
degrees and a paralegal certificate. See id. He has completed approximately 85 educational and service-
oriented courses. See id. He has received only a single, uncontested disciplinary action during his 30 years of
incarceration, a non-violent incident in which he provided money to another inmate. See id. The Court further
finds that—notwithstanding the BOP’s silence on this point—Defendant does not pose a danger to his
community. Finally, although Defendant’s health and age do not independently warrant release, they do weigh
in favor of granting release when the totality of the circumstances are considered.

       The Court notes that Defendant was a key employee of the ringleaders of a substantial money laundering
conspiracy. The Court’s findings should not be construed to minimize the severity of Defendant’s conduct.
The Court further notes that, although it is applying the catch-all provision of U.S.S.G. § 1B1.13 here, it does so
with extreme caution. Very few cases will fall within that provision; most will not.

        Nevertheless, under the circumstances presented here, “extraordinary and compelling” reasons warrant
Defendant’s release under 18 U.S.C. § 3582(c)(1)(A)(i). Accordingly, Defendant’s motion for compassionate
release is GRANTED. The Court modifies Defendant’s sentence of imprisonment to time served followed by
the three-year term of supervised release imposed in the previous sentence. Defendant is ordered to quarantine
for 14-days at the home where he will be living in Santa Clarita, California.1

        This order is effective November 13, 2020, at which point Defendant shall be released from BOP
custody. To ensure Defendant is released without delay, the Government shall serve a copy of this order upon
receipt on the warden at MDC and on Defendant’s Probation Officer, and any proposed modifications to

1
 To ensure Defendant is released forthwith, the Court finds that a quarantine at the home where Defendant will be living in Santa
Clarita, California is more appropriate than the Government’s suggestion that Defendant quarantine at MDC. See Dkt. 1410.


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Defendant’s conditions of supervised release may be submitted for approval after Defendant is released from
BOP custody.

         IT IS SO ORDERED.
                                                                                                              :
                                                                         Initials of Deputy Clerk    TJ




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             Case 2:89-cr-00190-SVWUNITED STATES
                                    Document      DISTRICT
                                             1417 Filed       COURT
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                                     THE CENTRAL DISTRICT OF CALIFORNIA
TO UNITED STATES MARSHAL:
PURSUANT TO AN ORDER OF COURT, YOU ARE AUTHORIZED AND DIRECTED TO:

          RELEASE FROM CUSTODY                   TAKE INTO CUSTODY           NAME:JUAN CARLOS SERESI
              FORTHWITH
              TO PROBATION/PRETRIAL SVCS ONLY                             CASE NO:2:89-cr-00190-SVW-17
              TO IMMIGRATION AND CUSTOMS ENFORCEMENT
                                                                          CHARGES: 18 U.S.C. 371; 1956
              OTHER:
                                                                                   18 U.S.C. 2, 1956(a)(1)
                  Defendant Acquitted of Charge(s)
                  Defendant Restored to Probation Status
                  Defendant Sentenced to a Period of Incarceration
                  Defendant sentenced to a Period of Probation
                  Defendant's Prior Bond Reinstated
                  Bond Revoked Pending Trial/Sentencing/other hearing
                  Supervised Release/Probation Violation
                  Defendant Sentenced to Time Served
                  Motion to Dismiss Indictment/Information granted
                  Motion for Compassionate Release Granted.


                                                                            CLERK, U.S. DISTRICT COURT

           Issued on:       11/12/2020      at 9:15 AM
                                                                    BY:
                                                                                                T. Jackson (213)894-0539
                                                                               Deputy Clerk(Sign and Print Name)




CR-12   (11/19)                          TAKE INTO/RELEASE FROM CUSTODY
